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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     EL PASO DIVISION

 UNITED STATES OF AMERICA,                         §
                                                   §
      Plaintiff,                                   §
                                                   §
 v.                                                §       EP-21-CV-173-KC
                                                   §
 STATE OF TEXAS; and GREG                          §
 ABBOTT, in his official capacity as               §
 Governor of the State of Texas,                   §
                                                   §
      Defendants.                                  §

                             TEMPORORARY RESTRAINING ORDER

         On this day, the Court considered the United States’ Emergency Motion for a Temporary

Restraining Order or Preliminary Injunction (“Motion”), ECF No. 3. Upon consideration of the

Complaint and the Motion, including the declarations attached thereto, the Court finds as

follows:

         1.        This Court has jurisdiction over the subject matter of this case, there is good cause

to believe it will have jurisdiction over all the parties, and venue in this district is proper. The

United States is likely to prevail on its claims that Texas Governor Greg Abbott’s “executive

order No. GA-37 relating to the transportation of migrants during the COVID-19 disaster,”

issued on July 28, 2021 (“Executive Order”), violates the Supremacy Clause of the United States

Constitution because (1) it conflicts with, and poses an obstacle to, federal immigration law; and

(2) it directly regulates the federal government’s operations.

         2.        The Executive Order causes irreparable injury to the United States and to

individuals the United States is charged with protecting, jeopardizing the health and safety of




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non-citizens in federal custody, risking the safety of federal law enforcement personnel and their

families, and exacerbating the spread of COVID-19.

       3.      The balance of equities and the public interest also favor the United States.

       4.      The Court requires a fuller presentation of the facts and law before entering an

order on Plaintiff’s application for a preliminary injunction.

        Accordingly, it is hereby ORDERED that, pursuant to Federal Rule of Civil Procedure

65, the Motion, ECF No. 3, is GRANTED.

       IT IS FURTHER ORDERED that Defendants, their agents, officers, and employees,

and all other persons and entities in active concert or participation with them, are ENJOINED,

pending a full hearing on Plaintiff’s application for a preliminary injunction, from enforcing the

Executive Order.

       IT IS FURTHER ORDERED that this temporary restraining order shall remain in force

until the 13th day of August, 2021, at 8:00 a.m., or until such later date as may be extended by

the Court or agreed upon by the parties. Pursuant to Federal Rule of Civil Procedure 65, the

parties shall appear before this Court on August 13, 2021, at 8:00 a.m., for a hearing on

Plaintiff’s application for a preliminary injunction.

       SO ORDERED.

       SIGNED on this 3rd day of August, 2021 at 3:55 p.m.




                                               KATHLEEN CARDONE
                                               UNITED STATES DISTRICT JUDGE




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